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                                          U.S. Department of Justice
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                                                    January 8, 2018

BY ECF
The Honorable Katherine B. Forrest
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

       Re:     United States v. Fraser Thompson
               S3 15 Cr. 616 (KBF)

Dear Judge Forrest:

        The Government respectfully submits this letter in advance of the sentencing of defendant
Fraser Thompson and in response to the defendant’s sentencing memorandum, dated January 5,
2018 (“Def. Mem.”). As set forth in the Presentence Investigation Report (“PSR”), the Guidelines
range is 168 to 210 months’ imprisonment, to be followed by a mandatory and consecutive 24
months’ imprisonment. (PSR ¶ 140). The Probation Office recommends a below-Guidelines
sentence of 144 months’ imprisonment, while the defendant requests a sentence of 36 months’
imprisonment. (PSR at 33; Def. Mem. at 1). For the reasons set forth below, the Government
respectfully submits that a substantial sentence of incarceration would be fair and appropriate in
this case.

A.     Background

       1.      The Offense Conduct

        From 2011 through 2013, the defendant and others engaged in a massive scheme to defraud
ordinary consumers by placing unauthorized charges for premium text messaging services on their
cell phone bills through a practice known as auto-subscribing. (PSR ¶ 22). The scheme essentially
involved two main players in the cell phone industry: aggregators and content providers. (PSR
¶¶ 24-25). Mobile Messenger, the defendant’s employer, was the aggregator that played a central
role in the scheme. (See PSR ¶ 31). It provided many of the phone numbers of the consumers
who would be auto-subscribed and the mechanism that permitted the charges for those unwanted
services to appear on the consumers’ cell phone bills. (See, e.g., PSR ¶¶ 25, 37, 40, 42, 50). The
content providers sent consumers the unwanted text messages that ultimately resulted in them
being billed for services they had not authorized. (PSR ¶¶ 24-25). These messages consisted of a
pin message, a welcome message, and content messages.

       In the auto-subscribing scheme, Mobile Messenger worked with three sets of content
providers, all of which were essential to the scheme’s success: (1) Tatto Media, which was
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operated by Lin Miao; (2) CF Enterprises and DigiMobi, which were operated by Eugeni
Tsvetnenko, a/k/a “Zhenya,” and (3) Bleam Technology, which was operated by Francis Assifuah.
(PSR ¶¶ 33-35). The defendant was charged and convicted for his role in auto-subscribing with
Zhenya, through the content providers CF Enterprises and DigiMobi.

        The plan to auto-subscribe with Zhenya came about in early 2012, in connection with
discussions between Darcy Wedd, Erdolo Eromo, Michael Pajaczkowki, a/k/a “Paj,” and the
defendant about how to increase revenue at Mobile Messenger, in the wake of the decreasing
profitability of premium text messaging services. (PSR ¶ 48). By this time, Wedd and Paj had
already been auto-subscribing with Miao through Tatto Media, and Eromo and Paj were planning
to auto-subscribe with Assifuah through Bleam Technology. (See PSR ¶¶ 39-40, 60). Zhenya
operated several content provider companies and other mobile industry companies based in
Australia. (PSR ¶ 48). Zhenya had been kicked off Mobile Messenger’s aggregation platform in
the past due to suspicious subscribing practices, including past incidents of auto-subscribing. (See
id.). Although Thompson did not participate in the initial discussions between Wedd, Eromo, and
Paj about auto-subscribing with Zhenya, he quickly became a part of the scheme, and joined
ongoing discussions about it. (See id.). The discussions resulted in Zhenya establishing two new
content providers, CF Enterprises and DigiMobi, to conduct the scheme on Mobile Messenger’s
aggregation platform. (PSR ¶ 49). Wedd, Eromo, Paj, and the defendant agreed to a revenue split
with Zhenya, pursuant to which Zhenya would keep approximately 70% of the auto-subscribing
proceeds generated by CF Enterprises and DigiMobi, and the remaining 30% of the auto-
subscribing proceeds would be divided evenly between Wedd, Eromo, Paj, and the defendant.
(Id.).

        Wedd, Eromo, Paj, and the defendant each played important roles in the scheme to auto-
subscribe with Zhenya. The defendant and Eromo worked on the short code strategy for the
scheme, to ensure that Zhenya was supplied with all the short codes he needed to be able to send
the consumers the unwanted text messages. (PSR ¶ 50). Paj furnished lists of phone numbers to
Zhenya, along with an auto-subscribing “playbook,” which provided Zhenya with guidance on
how to auto-subscribe without being caught. (Id.). Wedd, to whom Eromo, Paj, and the defendant
all reported, oversaw the scheme. (Id.). The defendant also had explicit conversations with the
others about ways in which they could carry out the scheme without being detected. For instance,
the defendant suggested to Paj that, in order to avoid leaving a digital trail, Paj should create an
alias email account that both he and Zhenya could access, and then use that account to write each
other emails in draft form. (Id.).

         Wedd, Eromo, Paj, and the defendant devised a method of receiving and distributing the
auto-subscribing money from Zhenya in a manner that would conceal the nature and purpose of
the money. (PSR ¶ 53). Through the method they devised, Zhenya kicked back 30% of his auto-
subscribing proceeds to a nominee company controlled by Eromo. (Id.). From there, Eromo
distributed the 30% cut evenly amongst himself, Wedd, Paj, and the defendant. (Id.). At the
defendant’s request, Eromo distributed the defendant’s share of the 30% to him by sending it to a
nominee company, Ocean Tactics LLC, that the defendant controlled. (PSR ¶¶ 53, 57). The
defendant created Ocean Tactics on or about February 14, 2012, for the purpose of receiving
money from the Zhenya auto-subscribing scheme, as well as money from a separate content
provider scheme that the defendant, Wedd, Paj, and Eromo were conducting behind Mobile
Messenger’s back. (PSR ¶ 57). Eromo, at the defendant’s instruction, also passed the defendant’s
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share of auto-subscribing money through another company, Erdi Development, before sending it
on to Ocean Tactics, so that the defendant would have another layer of separation disguising his
receipt of the fraud proceeds. The defendant sent Eromo monthly invoices reflecting the money
that the defendant was owed for both the Zhenya auto-subscribing scheme and the separate content
provider scheme. (Id.). On these invoices, the defendant falsely described the money as being
due to him in payment for “consulting professional services,” even though, in fact, the defendant
had not performed any such services. (Id.). The phrase “consulting professional services” was
commonly used by the defendant and various co-conspirators to conceal the fact that they were
being paid for their assistance in auto-subscribing. (Id.). 1

        Zhenya, with the assistance of Wedd, Eromo, Paj, and the defendant, started auto-
subscribing consumers in approximately April of 2012. (PSR ¶ 51). Zhenya’s auto-subscribing
activities, which continued into 2013, resulted in hundreds of thousands of mobile phone numbers
being auto-subscribed through Mobile Messenger. (Id.). In August of 2012, Zhenya inadvertently
auto-subscribed Marc Ouellette, a Mobile Messenger employee who was unaware of the auto-
subscribing scheme. (PSR ¶ 52). Ouellette subsequently emailed the defendant about the fact that
Ouellette had been auto-subscribed by Zhenya. (Id.). The defendant then had a nervous discussion
about the incident with Eromo, during which the defendant worried that the inadvertent auto-
subscription of Ouellette would cause their fraudulent scheme to be uncovered. Nevertheless,
thereafter, the defendant continued to participate in the auto-subscribing scheme, and to receive
revenues from the scheme. (Id.).

        In total, as a result of the Zhenya auto-subscribing scheme, consumers were defrauded out
of approximately $41,389,725. (PSR ¶ 70). After the phone companies and Mobile Messenger
took their portions of that money, which amounted to approximately 35% for the phone companies
and 15% for Mobile Messenger, respectively, Zhenya received the remaining 50%, which
amounted to approximately $20,694,860.80. (See id.). From there, Zhenya distributed 30% of the
$20,694,860.80 to Wedd, Eromo, Paj, and the defendant, to be split evenly amongst the four of
them. In total, then, the defendant personally received approximately $1,552,114.56 in auto-
subscribing proceeds (which is 30% of $20,694,860.80, divided by four). The defendant’s
company, Ocean Tactics, received approximately $9,892,120.65 in proceeds, which was a
combination of the $1,552,114.56 in auto-subscribing money, and money due to the defendant for
his participation in the separate content provider scheme. (See id.).

       2.      The Charges, the Verdict, and the Guidelines Calculation

       On June 5, 2017, the defendant was charged in Counts Five through Eight of the above-
referenced superseding Indictment, with: (1) participating in a conspiracy to commit wire fraud,
by auto-subscribing consumers through CF Enterprises and DigiMobi (the “Zhenya auto-
subscribing scheme”); (2) wire fraud in connection with the Zhenya auto-subscribing scheme; (3)
using the telephone numbers of consumers without authorization, as part of the Zhenya auto-
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  The trial evidence indicated other steps the defendant used to cover his tracks, including by
suggesting that Paj use draft emails to provide data to Zhenya (see Trial Transcript (“Tr.”) at 509-
10), speaking with Eromo about destroying Eromo’s laptop that contained incriminating
information (see Tr. at 599-600), and discussing the use of an email account that the defendant
could use to communicate in secret with Wedd and Eromo (see Tr. 1525-26).
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subscribing scheme: and (4) participating in a conspiracy to launder the money received from the
Zhenya auto-subscribing scheme. (PSR ¶¶ 6-9). On September 5, 2017, a jury found the defendant
guilty as charged.

       The PSR correctly calculates the appropriate Guidelines Range under the United States
Sentencing Guidelines. As calculated therein, the base offense level is 7, and the following
enhancements are warranted: (1) a 22-level enhancement for a loss amount of between
$25,000,000 and $65,000,000, (2) a 2-level enhancement because the offense involved ten or more
victims, (3) a 2-level enhancement because the offense involved sophisticated means, and (4) a 2-
level enhancement because the defendant was convicted under Title 18, United States Code,
Section 1956. (PSR ¶¶ 80-84). This leads to a total offense level of 35. (PSR ¶ 88). The defendant
has no known prior criminal history, which places him in Criminal History Category I. (PSR ¶
94). Accordingly, the defendant’s Guidelines Range is 168 to 210 months’ imprisonment, to be
followed by a mandatory and consecutive 24 months’ imprisonment (as a result of the conviction
on Count Seven, the aggravated identity theft charge). (PSR ¶ 140). The defendant should also
be ordered to forfeit the auto-subscribing proceeds that he personally received from the scheme,
which, as discussed above, amounted to approximately $1,552,114.56. Finally, the defendant is
responsible for restitution, which should be paid jointly and severally with his co-defendants in
the Zhenya auto-subscribing scheme. As noted above, the total loss suffered by the victims of the
scheme was approximately $41,389,725.

B.     Discussion

       1.      Applicable Law

        The Guidelines are no longer mandatory, but they still provide important guidance to the
Court following United States v. Booker, 543 U.S. 220 (2005), and United States v. Crosby, 397
F.3d 103 (2d Cir. 2005). “[A] district court should begin all sentencing proceedings by correctly
calculating the applicable Guidelines range,” which “should be the starting point and the initial
benchmark.” Gall v. United States, 552 U.S. 38, 49 (2007). The Guidelines range is thus “the
lodestar” that “‘anchor[s]’” the district court’s discretion. Molina-Martinez v. United States, 136
S. Ct. 1338, 1345-46 (2016) (quoting Peugh v. United States, 133 S. Ct. 2072, 2087 (2013)).

         After making the initial Guidelines calculation, a sentencing judge must consider the
factors outlined in Title 18, United States Code, Section 3553(a), and “impose a sentence
sufficient, but not greater than necessary, to comply with the purposes” of sentencing outlined in
18 U.S.C. § 3553(a)(2). To the extent a district court imposes a sentence outside the range
recommended by the Guidelines, it must “‘consider the extent of the deviation and ensure that the
justification is sufficiently compelling to support the degree of the variance.’” United States v.
Cavera, 550 F.3d 180, 189 (2d Cir. 2008) (en banc) (quoting Gall, 552 U.S. at 50).

       2.      A Substantial Sentence of Incarceration Would Be Just and Appropriate

        In the Government’s view, a substantial sentence of incarceration would be fair and
appropriate in this case. In particular, the nature and circumstances of the offense, the need for
just punishment, the history and characteristics of the defendant, the need to promote respect for
the law, and the need for both specific and general deterrence all justify such a sentence.
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Nature and Circumstances of the Offenses and the Defendant’s Role

        The nature and circumstances of the offense are very serious. The defendant and his co-
conspirators used stolen lists of hundreds of thousands of phone numbers to bill people without
their authorization for services they did not want. The defendant and his co-conspirators
participated in this fraud with the knowledge that it was designed to avoid detection by billing
large numbers of people in small amounts that they were unlikely to complain about. This type of
high-volume, low-dollar amount fraud is particularly dangerous to society because of the inherent
difficulty in detecting and stopping it. The defendant and others like him need to be deterred from
engaging in this type of fraud in the future, especially because they are unlikely to believe they
will be caught. The defendant, moreover, was not a minor participant in the fraud. Rather, he was
an equal player – along with Wedd, Eromo, and Paj – in carrying out the tasks that were necessary
to make auto-subscribing with Zhenya a success, and in strategizing with the others about how to
carry out the scheme in a manner that would be likely to evade detection. The defendant’s role as
an equal player in the fraud is also reflected by the fact that the defendant, Wedd, Eromo, and Paj
divided the fraud proceeds that they received equally amongst one another.

        With respect to his role in the conspiracy, the defendant contends at various points that he
had a “comparatively minor” role, (Def. Mem. at 11); and possessed “a diminished intent relative
to his co-conspirators” (Id.). Neither of these assertions is correct. The defendant entered the
Zhenya auto-subscribing scheme with full knowledge of the consequences of such a fraud. 2 He
asked to join; he was not dragooned or coerced to join. (See Tr. at 1312-13 (Eromo testimony that
at a meeting at Starbucks in early 2012, Thompson “told me that Darcy had informed him of the
meeting that we had, and he wants to meet up to discuss the opportunities that we talked about . .
. . He was curious, he was interested, and he wanted to find out more, and find out how we could
all work together”).). He was not a passive recipient of fraudulent proceeds, as the defense
contends, but was an active strategist and perpetrator of this fraud. (See Tr. at 506 (the defendant
and Eromo were responsible for “obtaining and planning short codes for this scheme”); 1315 (the
defendant and Eromo discussed “short code strategy . . . for CF Enterprise [sic] in depth so that
we could implement the strategy fairly quickly and start the auto-subscription fairly quickly”);
1317 (Thompson was responsible for “getting the short codes provisionally certified through the
pipeline fairly quickly [f]or the short codes we were helping Zhenya buy on the aggregation
platform”).).

        At bottom, defense counsel confuses what he contends was a “diminished intent” with the
facts established at trial—that the defendant was cautious and careful in his communications and
was concerned with getting caught. For example, as the Zhenya auto-subscribing scheme was

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   It bears noting as well that the defendant engaged in other improper conduct at Mobile
Messenger, including receiving bribes in exchange for giving preferential treatment to content
providers. (See, e.g., Tr. at 1288-89 (Eromo testimony regarding splitting $20,000 in cash from
Tatto with the defendant, in exchange for moving short codes, in early 2012); Id. at 1291-92
(Eromo testimony regarding discussing sharing $200,000 from Tatto with Thompson in exchange
for saving short codes, in March 2012, and the steps Thompson took, including “spend[ing] hours
. . . trying to figure out the complicated entity structure of Tatto Media . . . [and] get[ting] constant
updates from people that are involved to see, you know, what could be done and when and how”).).
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about to launch, the defendant “was concerned that he did not want the auto-subscription scheme
to be discovered, and then for that to bring us [Thompson, Wedd, Paj, and Eromo] down as it
related to the entire content provider scheme].” (Tr. at 509). The defendant, however,
acknowledged at the inception of the conspiracy that “auto-subscription was basically stealing.”
(Id.). The trial proof established that it was the concern that he would get caught for clearly illegal
activity, and not any sort of “diminished intent,” that led to the defendant trying to minimize the
paper trail that pointed to his involvement in the scheme.

        The defendant also seeks to minimize his responsibility by arguing that “there has been no
showing that all of those funds [billings related to Zhenya’s content providers CF Enterprises and
DigiMobi] arose from the activities giving rise to the conviction.” (Def. Mem. at 9). However, the
testimony at trial was clear and unequivocal—those content providers were set up by Zhenya, with
assistance from the defendant, Wedd, Paj, and Eromo, in order to defraud consumers through auto-
subscribing. (See, e.g., Tr. at 501 (Paj testifying that he “got with Erdolo the following day or so,
and we started figuring out all the new content providers and short codes that we would need to
get and have set up so that he could conduct his auto-subscription scheme”); 1314 (Eromo
testimony that CF Enterprises was “the company that Zhenya Tsvetnenko set up for the purposes
of auto-subscribing with myself, Darcy Wedd, Fraser Thompson, and Michael Paj,” and the
DigiMobi was another such company); 1941 (Eromo testimony that CF Enterprises money came
from auto-subscribing); 1421-22 (Eromo testimony that DigiMobi money came from auto-
subscribing.). The trial proof established that the defendant and Eromo discussed the formation of
CF Enterprises and the very start of this scheme. (See, e.g., GX 857 (Eromo reminder, dated
February 13, 2012, to discuss CF Enterprises with the defendant).). Moreover, the defendant
understood Zhenya’s history as a bad actor in the industry, he understood that Zhenya had been
caught auto-subscribing on previous occasions, and he knew that Zhenya’s new entities CF
Enterprises and DigiMobi quickly became some of the largest revenue-generating content
providers on Mobile Messenger’s aggregation platform. In light of these facts, there can be no
serious argument that all of the business generated by CF Enterprises and DigiMobi at Mobile
Messenger stemmed from auto-subscribing fraud.

        The defendant further seeks to minimize the level of his culpability by contending that
“[t]he picture that the jury had before it, which it obviously relied upon in reaching its guilty
verdict, was one of a person whose intent was based on conscious avoidance.” (Def. Mem. at 9).
This, again, is incorrect. As set forth above, the defendant had actual knowledge that he was
participating in an auto-subscribing conspiracy. He asked to join the conspiracy, presumably as a
way to make some extra money for himself. He participated in meetings and phone calls where
he and others discussed the means and methods of the conspiracy. He routed the dirty money
through layers of bank accounts. To suggest that he is guilty, at most, of sticking his head in the
sand with respect to what his co-conspirators were doing is to ignore the evidence at trial.

History and Characteristics of the Defendant

       The history and characteristics of the defendant also justify a significant sentence. As the
Probation Office points out, the defendant has not expressed any remorse for his conduct or
exhibited any acceptance of responsibility. (See PSR at 33). But as a unanimous jury found, the
defendant was an active participant in this scheme, who knew full well that he was ripping off
consumers and who repeatedly tried to cover it up. Moreover, the defendant profited substantially
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from his participation in the fraud, to the tune of over $1.5 million. Yet, since the fraud’s
completion, the defendant has engaged in questionable financial activities, including placing his
residence in a trust in November of 2014 and paying monthly “rent” to the trust. (See id.).
Certainly, the fact that the defendant has no known criminal history, and is the father to two young
children, must also be considered in fashioning an appropriate sentence. The letters submitted by
the defendant discuss those personal considerations. However, the defendant well understood his
family obligations when he decided to participate in his conspiracy. Despite having a strong
support network— a supportive family, a high paying job, and considerable financial resources at
his disposal—the defendant chose to engage in a massive fraud and to steal from others in order
to enrich himself and his family.

Comparison to Co-Defendants

        To date, the Court has sentenced one defendant for his participation in the instant
conspiracy. Francis Assifuah, who operated a content provider that engaged in “active” auto-
subscribing (i.e., using telephone numbers initially to enroll cellphone users in a Premium SMS
service) for one month, was sentenced to a term of imprisonment of 33 months, the bottom end of
the Guidelines that were applicable to him. Assifuah was sentenced after conviction for wire fraud
conspiracy; there was not a mandatory consecutive 24 months of imprisonment for Assifuah as
there is for the defendant, who was also convicted of aggravated identity theft. Moreover, the
defendant’s involvement in the conspiracy was much more substantial than Assifuah’s
involvement, and while the defendant contends that he is the least culpable of all defendants, (Def.
Mem. at 18), the Government respectfully submits that is incorrect. The defendant (a) asked his
way into this conspiracy; (b) used his trusted position at Mobile Messenger to help launch CF
Enterprises and DigiMobi into auto-subscribing; (c) held numerous meetings with co-conspirators
to discuss how to cover their tracks and avoid detection; (d) used a shell company to receive and
disguise auto-subscribing proceeds; (e) insisted that Eromo insert an additional layer of bank
account protection to help avoid detection; (f) profited the same as his Mobile Messenger co-
conspirators from the Zhenya auto-subscribing scheme; and (g) helped perpetrate the scheme for
approximately two years. 3

       In light of the nature and seriousness of the offense, the defendant’s continued lack of
remorse and refusal to accept responsibility for his actions, and the needlessness of the defendant’s
decision to engage in this conduct, a substantial sentence of incarceration would be sufficient but
not greater than necessary to satisfy the goals of sentencing.




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  The defendant’s conviction for aggravated identity theft, in violation of 18 U.S.C. § 1028A,
carries with it a mandatory consecutive term of imprisonment of 24 months. In light of that
statutory requirement, the defendant’s request for a 36-month term of imprisonment translates to
12 months for his participation in massive wire fraud and money laundering conspiracy, less than
ten percent of the bottom end of the applicable Guidelines range. The Government respectfully
submits that such a sentence reflects neither the nature and circumstances of the offense nor the
defendant’s role, and does not promote respect for the law. See 18 U.S.C. § 3553(a)(1)-(2).
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Conclusion

       For the reasons set forth above, a substantial sentence of incarceration would be fair and
appropriate in this case.

                                                    Respectfully submitted,


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                                                    United States Attorney

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